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MARKS, O’NEILL, O’BRIEN,

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1275-107074(MJB/JRS)

 

UNITED STATES DISTRICT COURT
Donell Freeman DISTRICT OF NEW JERSEY
(Trenton Vicinage)

vs.
DOCKET NO. 3:18-cv-7802
Kabeeruddin Hashmi, M.D. and Correct Care
Solutions LLC, d/b/a WellPath CORPORATE DISCLOSURE
STATEMENT

 

The undersigned counsel for Defendant, Correct Care Solutions, LLC d/b/a WellPath,
certifies that this party is a non-governmental corporate party and that this party does not have a
parent corporation, nor is there any publicly held corporation that owns 10% or more of this

party’s stock.

MARKS, O’NEILL, O’BRIEN,
DOHERTY & KELLY, P.C.

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Melissa J. Brown, Esquire

Attorney for Defendants,

Kabeeruddin Hashmi and

Correct Care Solutions, LLC d/b/a WellPath

Dated: November 15, 2019

{NJ039223.1}

 
